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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                               CASE NO. 8:15-cr-47-T-30MAP

   ERICA N. GRAY


                          FORFEITURE MONEY JUDGMENT

         The United States moves for a forfeiture money judgment (Doc. 97) in the

   amount of $14,494.25 against defendant Erica N. Gray, pursuant to 18 U.S.C. §

   982(a)(2)(A), and Rule 32.2(b)(2), Federal Rules of Criminal Procedure.

         Being fully advised of the relevant facts, the Court hereby finds that the

   defendant obtained $14,494.25 in proceeds as a result of the conspiracy to commit

   wire fraud and bank fraud, in violation of 18 U.S.C. §§ 1343, 1344, and 1349 as

   charged in Count One of the Indictment, to which she pleaded guilty.

         Accordingly, it is ORDERED that the motion (Doc. 97) of the United States

   is GRANTED.

         It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 982(a)(2)(A) and

   Rule 32.2(b)(2), Federal Rules of Criminal Procedure, the defendant is liable to the

   United States of America for a forfeiture money judgment in the amount of

   $14,494.25.

         The Court retains jurisdiction to effect the forfeiture and disposition of any

   property belonging to the defendant that the government is entitled to seek under
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   21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1), as a substitute asset

   in satisfaction of the defendant’s money judgment.

            Pursuant to Rule 32.2(b)(4) and the defendant’s Plea Agreement (Doc. 52,

   p. 9), this order is final as to the defendant.

            DONE and ORDERED in Tampa, Florida, on October 9, 2015.




   Copies furnished to:
   All Parties/Counsel of Record
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